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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION



   UNITED STATES OF AMERICA

    v.                                        Case No.: 8:21-cr-218-WFJ-AAS

    BRANDON WELCH
                                                           /


           UNOPPOSED MOTION TO TRANSFER DEFENDANT

         Mr.     BRANDON          WELCH,         through       undersigned    counsel,

   moves this Honorable Court to order the transfer to another facility,

   for the following reasons:

         Mr.    Welch     is    charged   with    a   very     serious   offense   and

   preparation for trial requires in-person meetings with counsel to

   review voluminous discovery.           In-person meetings are not permitted

   at the Pinellas County Jail, where the Defendant is currently housed.

   Other area jails do all allow these visits for attorneys.

         Additionally, previous safety concerns have been raised by

   Mr. Welch, since other non-white inmates know him to be accused

   of membership in an alleged white supremacist organization which
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   has caused so-far non-violent altercations and friction, but this can

   escalate quickly.   These concerns continue as of this date, where they

   were discussed in a video meeting.

         Mr. Welch indicated that a Pinellas Jail Lieutenant discussed

   the earlier concerns but insisted that the Defendant make specific

   complaints about inmates, something the Defendant was reluctant to

   do.   He feared that those complaints alone might escalate the tension

   and promote an attack.      Counsel believes that, considering the nature

   of this case, the Defendant’s fears are reasonable—he is one of four

   white males in a pod containing 24 inmates.

         This   matter   was    discussed   with    Assistant   United   States

   Attorney (AUSA) Samantha Beckman, who advised that she does

   not oppose this request.    The Court has previously granted a request

   for transfer by a similarly situated defendant, Dkt. 440.     If granted, it

   is requested that the Court order transfer of all the Defendant’s

   belongings, including notes and any discovery.

         WHEREFORE, this Honorable Court is requested to Order

   the transfer of this Defendant to a facility in the local area that will




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   allow   in-person   visits   with   counsel   to   review   the   voluminous

   discovery in this case and can provide for Mr. Welch’s safe housing.



                                          Respectfully Submitted,
                                          S/Christophir A. Kerr
                                          Christophir A. Kerr, Esq.
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                        CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that the foregoing has been furnished by
   electronic filing to Elizabeth M. Warren, Clerk of the Court, U.S. District
   Court, Middle District of Florida, U.S. Courthouse, 801 N. Florida Ave.,
   #223, Tampa, FL 33602-3800, on this 28th day of February 2022.

                                                       S/Christophir A. Kerr
                                                       Christophir A. Kerr, Esq.




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